Case 3:21-cv-01980-CAB-JLB Document 4-11 Filed 11/23/21 PageID.120 Page 1 of 5



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   14                        UNITED STATES DISTRICT COURT

   15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   16
        PFIZER INC.,                              Civil Action No. 3:21-cv-1980-CAB-JLB
                                                                   ___________________
   17
                               Plaintiff, DECLARATION OF BRIAN
   18                                     COLEMAN IN SUPPORT OF
              - against -                 PLAINTIFF’S MOTION FOR A
   19                                     TEMPORARY RESTRAINING
      CHUN XIAO LI and DOES 1-5,
   20
                                          ORDER AND PRELIMINARY
                            Defendants. INJUNCTION
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                                              DECL. OF B. COLEMAN ISO TRO & PRELIM INJ.
Case 3:21-cv-01980-CAB-JLB Document 4-11 Filed 11/23/21 PageID.121 Page 2 of 5



   1    I, Brian Coleman, pursuant to 28 U.S.C. § 1746, declare as follows:
   2          1.     I am over the age of eighteen, and make this Declaration In Support of
   3    Plaintiff’s Motion for a Temporary Restraining Order and Preliminary Injunction
   4    dated November 23, 2021, based on personal knowledge and experience. If called
   5    as a witness, I could and would testify to such facts under oath.
   6          2.     I am currently the Director of the Digital Forensics & Insider Threat
   7    Unit at Pfizer Inc. (“Pfizer”). I have worked in the Digital Forensics & Insider
   8    Threat Unit since I began working at Pfizer in March 2013, first as a Senior
   9    Forensic Analyst, then promoted to Senior Manager, and then promoted to
   10   Director. As the Director of the Digital Forensics & Insider Threat Unit, I am
   11   responsible for investigating the digital activity of employees who are identified as
   12   potentially engaging in suspicious activity or who otherwise warrant a data review.
   13   I am also responsible for collaborating with third-party forensics firms that Pfizer
   14   may engage to conduct the analysis of computers and hard drives.
   15         3.     Prior to my time at Pfizer, I had 7 years of experience working with
   16   digital forensic investigations with the Computer Forensics Unit of the
   17   Pennsylvania Attorney General’s Office, the Department of Defense Cyber Crime
   18   Center, and the Computer Analysis Response Team at the Federal Bureau of
   19   Investigation. I have also testified as a subject-matter expert in computer forensics
   20   in federal, state, and military courts. In my past decade of experience, I have
   21   undertaken hundreds of forensic examinations.
   22         4.     My training in the forensic field includes a Bachelor of Science in
   23   Computer Science from Sacred Heart University. I have had hundreds of hours of
   24   relevant training since 2004. I am currently a certified OpenText EnCase Certified
   25   Examiner (EnCE) and a GIAC Certified Forensic Examiner; I was also previously
   26   certified on computer forensics through the Federal Bureau of Investigation and the
   27   Department of Defense.
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Case 3:21-cv-01980-CAB-JLB Document 4-11 Filed 11/23/21 PageID.122 Page 3 of 5



   1                    Security Measures for Highly Confidential Information
   2             5.    Pfizer employs a set of robust measures to protect its intellectual
   3    property. Those measures include employing a dedicated team of in-house
   4    forensics specialists (like me), monitoring employee activity on company devices,
   5    and using automated monitoring alerts to escalate suspicious employee activity.
   6             6.    There are also a variety of employee-facing data-security measures
   7    including policies, agreements, and blocks on certain activity. For example,
   8    Pfizer’s corporate policy, entitled Global Acceptable Use of Information Systems
   9    Policy #403, prohibits “unauthorized . . . disclosure, transfer, use or unapproved
   10   release of Pfizer Information,” the use of “unauthorized devices (e.g.
   11   personal/home computers and laptops, public computers, etc.) . . . to transmit, store
   12   or work on Pfizer Information,” and the “[u]nauthorized use of non-Pfizer cloud
   13   service accounts for the storage, computation or transfer of Pfizer information.” In
   14   furtherance of this prohibition, in 2019 Pfizer implemented an enterprise-wide
   15   block on connecting USB storage devices, such as external hard drives, to Pfizer
   16   laptops. Moreover, in October 2021, Pfizer implemented a technology that
   17   monitors when employees upload files to cloud-based platforms such as Google
   18   Drive.
   19                              Investigation into Ms. Li’s Activity
   20            7.    On Friday, October 29, I was reviewing data from our systems and
   21   saw a large volume of recent activity related to Google Drive. As I looked further
   22   into that activity, I realized that there were several thousands of entries of activity
   23   relating to a specific user: Ms. Chun Xiao Li. Due to the volume of documents
   24   that Ms. Li transferred, Pfizer immediately initiated a digital review of Ms. Li’s
   25   emails, her file access, and her internet activity on her Pfizer-issued laptop. I
   26   performed or supervised all parts of this review by the Digital Forensics & Insider
   27   Threat Unit.
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Case 3:21-cv-01980-CAB-JLB Document 4-11 Filed 11/23/21 PageID.123 Page 4 of 5



   1          8.     An investigation into Ms. Li’s Pfizer email account revealed that she
   2    had been interviewing with and had received an offer of employment from Xencor.
   3    Upon further review by the Digital Forensics & Insider Threat Unit, we discovered
   4    that from Saturday, October 23 through Tuesday, October 26, Ms. Li transferred
   5    over 12,000 files from her Pfizer laptop to an online Google Drive account. This
   6    Google Drive account appeared to be Ms. Li’s personal account. I understand that
   7    Ms. Li was actually “out of office” on October 25-26, but during that time, she was
   8    conducting mass transfers of files from her Pfizer laptop to her Google Drive
   9    account. Ms. Li engaged in these transfers after having received her offer of
   10   employment from Xencor.
   11         9.     Some of these files appeared to be personal in nature based on file
   12   names and folder structure, and thus were not suspected of containing confidential
   13   information from Pfizer, but several documents appeared, from their file names
   14   and folder structure, more than likely to contain Pfizer confidential information.
   15         10.    I and my colleague Tyler Hunter spoke with Ms. Li via video
   16   conference on the evening of October 29, 2021. The goal of this call was to
   17   remediate Pfizer’s confidential information out of Google Drive. I explained to
   18   Ms. Li that Pfizer’s systems had detected uploads to her Google Drive and that we
   19   needed to go through and delete the files from the Google Drive account.
   20   However, Ms. Li had already deleted everything in her Google Drive account
   21   before our call. Ms. Li shared her screen and logged into her Google Drive
   22   account, after which I confirmed that everything was deleted, including checking
   23   the Trash folder. I also confirmed that the Google account that was logged in was
   24   the same account that we had seen in our systems.
   25         11.    During this conversation, I asked Ms. Li to come to Pfizer’s La Jolla
   26   office on Monday, November 1, and turn over her personal laptop and external
   27   hard drive for inspection. Ms. Li expressed reluctance to provide her personal
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Case 3:21-cv-01980-CAB-JLB Document 4-11 Filed 11/23/21 PageID.124 Page 5 of 5
